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                                                                   January 8, 2021
  By ECF

  Honorable Richard J. Sullivan
  United States Second Circuit Court Judge (sitting by designation)
  Southern District of New York
  40 Foley Square
  New York, New York 10007

                                                U.S. v. Dwayne Barrett
                                                12 Cr. 45
  Dear Judge Sullivan:

          Mr. Barrett is scheduled for sentence on January 28, 2021. I write to respectfully request
  that his sentencing and associated filing deadlines be re-scheduled to a date and time when he
  can appear in person. He does not consent to appear electronically. Thank you for your
  consideration in this matter.

                                                               Respectfully,

                                                                         /S/
                                                               Kelley J. Sharkey

Defendant's request for a sentencing adjournment is granted. IT IS
HEREBY ORDERED THAT Defendant Barrett's sentencing will instead take
place on Wednesday, February 24, 2021 at 10:00 a.m. in Courtroom 12D
at the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New
York, NY 10007. Defendant shall submit his sentencing submission
by February 10, 2021. The government shall submit its sentencing
submission by February 17, 2021.
SO ORDERED.
Dated:        January 11, 2021
              New York, New York
                                                            ________________________
                                                            Hon. Richard J. Sullivan
                                                            UNITED STATES CIRCUIT JUDGE
                                                            Sitting by Designation
